In re:                                 )   Chapter 7                 Fees previously requested:       None    Name of Applicant:                 Theodore P. Witthoft (021632)
                                       )                             Fees previously awarded:         None                                             Witthoft Derksen, P.C.
                                       )   No. 2:04-bk-16232-DPC                                                                                        Attorneys for Trustee,
HAL C. CARRINGTON,                     )                             Expenses previously requested:   None    Role in this case:                             David A. Birdsell
                                       )                             Expenses previously awarded:     None                                             Fee Request: $3,679.50
Debtor.                                )                                                                      Current application:                Expense Request:     $270.15
                                       )                                                                                                           Total Requested: $3,949.65
                                       )
                                       )
                                       )

                        FIRST FEE APPLICATION FOR ALLOWANCE AND PAYMENT OF TRUSTEE’S ATTORNEYS’ FEES AND EXPENSES
                                                      April 3, 2017 THROUGH October 18, 2017

            Professionals/                       Year Admitted
           Paraprofessionals                      to Practice                    Hours Billed                Witthoft Derksen Rate               Total For Application

     PARTNERS
     Sara R. Witthoft                                  2004                          3.00                             $315                              $945.00
     Theodore P. Witthoft                              2001                          3.30                             $350                             $1,155.00

           Total Attorney Fees/Hours                                                 6.30                                                              $2,100.00

     PARAPROFESSIONALS
     Trish Hines                                                                     8.10                             $195                             $1,579.50

     TOTAL:                                                                         14.40                                                              $3,679.50

                TOTAL BLENDED HOURLY RATE (Excluding paraprofessionals): $333.33                                      TOTAL FEES AND COSTS: $3,949.65


     DESCRIPTION:                                                  TOTAL HOURS BILLED:                   TOTAL AMOUNT FOR APPLICATION:
     Case Administration                                                      5.90                                      $1,662.00
     Plaintiff Claim Issues                                                   7.40                                     $1,7803.00
     Fee/Employment Applications                                              1.10                                        $214.50

     TOTAL:                                                                        21.10                                             $3,679.50




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 1   Theodore P. Witthoft (State Bar Id No. 021632)
     WITTHOFT DERKSEN, P.C.
 2   3550 North Central Avenue, Suite 1006
     Phoenix, Arizona 85012
 3   Telephone: (602) 680-7332
     Facsimile: (602) 357-7476
 4   Email: twitthoft@wdlawpc.com
 5   Attorneys for Chapter 7 Trustee, David A. Birdsell
 6                             UNITED STATES BANKRUPTCY COURT
 7                                      DISTRICT OF ARIZONA
 8   In re:                                        )   Chapter 7
                                                   )
 9                                                 )   Case No. 2:04-bk-16232-DPC
      HAL C. CARRINGTON,                           )
10                                                 )
                    Debtor.                        )
11                                                 )   FIRST FEE APPLICATION FOR
                                                   )   ALLOWANCE AND PAYMENT OF
12                                                 )   TRUSTEE’S ATTORNEYS’ FEES AND
                                                   )   EXPENSES
13                                                 )
                                                   )
14
15            Pursuant to § 330 of the United States Bankruptcy Code, the Chapter 7 trustee, David A.
16   Birdsell (“Trustee”), by and through his attorneys Witthoft Derksen, P.C. (“Witthoft Derksen”
17   or the “Firm”), herewith submits his first fee application for allowance and payment of the
18   Trustee’s attorneys’ fees and expenses (the “Application”) incurred in connection with the
19   above-captioned chapter 7 proceedings from the proceeds of the bankruptcy estate. Witthoft
20   Derksen has represented the Trustee from April 3, 2017, to date. This Application is for fees in
21   the amount of $3,679.50 and costs in the amount of $270.15 from April 3, 2017 through October
22   18, 2017.
23   A.       BACKGROUND
24            1. The Debtor filed his chapter 7 petition on September 14, 2004. The Trustee filed a
25   motion to reopen the case, as it came to the Trustee’s attention that Debtor’s pharmaceutical
26   claims were assets to be administered. The case, having been closed, was reopened on March
     29, 2017, pursuant to the Trustee’s motion.


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 1          2. Witthoft Derksen commenced services for the Trustee on April 3, 2017. The Trustee
 2   filed his application to employ Witthoft Derksen on April 3, 2017, and this Court approved the
 3   application on April 4, 2017.
 4          3. Witthoft Derksen agreed to work for the Trustee on an hourly basis and were to be
 5   paid only from assets of this chapter 7 estate. No retainers were ever paid nor were any caps or
 6   limitations ever established for the fees or other charges to be billed by the Firm.
 7          4. The following is a list of the hourly rates charged in this case by all attorneys and
 8   paraprofessionals at Witthoft Derksen. The rates shown here were identified in the affidavit in
 9   support of application to employ Witthoft Derksen. The rates charged in this case are the same
10   rates generally charged for similar services to this firm’s non-bankruptcy clients.
11               Attorneys                  Year First Admitted                   Hourly Rate
12     Patrick T. Derksen                          2003                              $315
       Sara R. Witthoft                            2004                              $315
13
       Theodore P. Witthoft                        2001                              $350
14
       Paralegals                                                                    $195
15     Law Clerks                                                                    $150
16     Litigation Assistant                                                          $75

17
            5. This is the first application for allowance and payment of fees and expenses incurred
18
     by Witthoft Derksen in this case.
19
            6. This Application is not filed less than 120 days after the order for relief nor within
20
     120 days after a prior application to this Court.
21
            7. This Application is for fees and expenses incurred by the Firm from April 3, 2017
22
     through October 18, 2017.
23
     B.     CASE STATUS
24
            1. Financial condition of chapter 7 estate.
25
                   a. Cash on hand or on deposit in the estate: approximately $122,670.91.
26




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 1                  b. To the best of the undersigned’s knowledge, the only other unpaid chapter 7
 2   administrative claims against the estate are this application for fees, the administrative claims of
 3   special counsel, and the Trustee’s claim for his compensation, allowed pursuant to 11 U.S.C.
 4   § 326.
 5                  c. All funds of this estate are unencumbered.
 6            2. Summary of case administration.
 7                  a. The Trustee has not made any distributions in this case.
 8                  b. No interim distributions to creditors are currently feasible or appropriate. The
 9   Trustee plans to file his closing report as soon as he completes some final tasks for the estate.
10   C.       PROJECT SUMMARY
11                  a.     Attorneys’ projects, benefits derived and status: Witthoft Derksen reviewed
12   the documents provided by the Trustee, Debtor’s schedules, Statement of Financial Affairs,
13   Court filings and other public records to analyze the issues identified by the Trustee to pursue in
14   this case. Witthoft Derksen investigated Debtor’s potential recovery from a class action mass
15   tort personal injury claim lawsuit (“Lawsuit”). Witthoft Derksen advised the Trustee concerning
16   the estate’s interest in the Lawsuit and advised the case be reopened. Witthoft Derksen worked
17   with special counsel and their staff to pursue the estate’s interest in the lawsuit. Witthoft
18   Derksen prepared the appropriate court filings to employ special counsel. Witthoft Derksen
19   worked with special counsel to analyze the estate’s potential recovery and to analyze various
20   claims and liens potentially encumbering the proceeds from a settlement of the Lawsuit.
21   Witthoft Derksen prepared the appropriate court filings to approve a settlement of the Lawsuit.
22   The settlement was approved. Witthoft Derksen maintained communications with special
23   counsel to help ensure the settlement would be completed. Witthoft Derksen regularly
24   communicated with the Trustee and provided legal and strategic advice as to the various issues
25   presented throughout this case. Witthoft Derksen’s efforts assisted in at least $122,670.91 being
26   paid to the estate.




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 1                     b.    Working attorney/paralegal summary: See cover sheet filed concurrently
 2   herewith.
 3                     c.    Summary of hours spent and compensation requested: See the cover sheet
 4   filed concurrently herewith.
 5                     d.    Itemized time entries: See Exhibit A attached hereto and incorporated
 6   herein by this reference.
 7                     c. Itemized time entries: See Exhibit A.
 8   D.     EVALUATION STANDARDS
 9          The detailed billing summaries contained in Exhibit A are believed by the undersigned to
10   be sufficiently detailed to enable this Court and the office of the United States Trustee to satisfy
11   the analysis requirements of 11 U.S.C. § 330(a).
12   E.     CERTIFICATION
13          As noted by the Trustee’s signature below, the Trustee has reviewed and approved this
14   application and the amount of the charges sought to be paid by the Trustee’s counsel.
15   F.     REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES
16          The expenses sought to be reimbursed herein are of the kinds and amounts customarily
17   charged to the applicant’s non-bankruptcy clients. Copying charges are billed by the Firm at the
18   rate of no more than 25 cents per page. Mileage is charged at the federal mileage rate. The
19   Firm’s phone, facsimile and postage charges were charged at the actual costs to the applicant,
20   except where such charges were absorbed by the applicant as general office overhead not billed
21   to this estate.
22   ///
23   ///
24   ///
25   ///
26   ///




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 1         WHEREFORE, it is respectfully requested that the Court enter an order allowing and
 2   directing the Trustee to pay to Witthoft Derksen its fees and expenses. Witthoft Derksen’s fees
 3   totaled $3,679.50 and its costs were in the amount of $270.15.
 4         Respectfully submitted this 5th day of April, 2018.
 5                                            WITTHOFT DERKSEN, P.C.

 6
 7
                                              By: /s/ Theodore P. Witthoft            021632
 8                                              Theodore P. Witthoft
 9                                               Attorneys for Trustee, David A. Birdsell

10
11         I have read the foregoing application and exhibits, and hereby approve the application
12   and the amounts sought herein.
13
     4/5/2018                                        /s/ David A. Birdsell
14
     Dated                                           David A. Birdsell, Chapter 7 Trustee
15
16
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 1   Copy of the foregoing *emailed/mailed
     this 5th day of April, 2018, to:
 2
 3
     *Larry Watson, Esq.
 4   United States Trustee’s Office
 5   230 North First Avenue, Suite 204
     Phoenix, Arizona 85003-1706
 6   Larry.Watson@usdoj.gov
 7
     *David A. Birdsell
 8   216 North Center
 9   Mesa, Arizona 85201
     Chapter 7 Trustee
10   ecf@azbktrustee.com
11
     Hal C. Carrington
12   538 S. Ellsworth Rd.
     Mesa, Arizona 85208
13
     Debtor
14
     Robert Teague
15   Phillips & Associates
16   20 E. Thomas Rd., #2600
     Phoenix, Arizona 85012
17   Attorney for Debtor
18
     *Robert Teague
19   Teague Law Firm
20   3101 N. Central Ave., Ste. 100
     Phoenix, Arizona 85012-2646
21   Attorney for Debtor
     rteague@mylawyeraz.com
22
23
24
25   /s/ Trish Hines
26




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                           EXHIBIT A 

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                                             Witthoft Derksen, P.C.
                                             3550 North Central Avenue
                                                    Suite 1006
                                              Phoenix, Arizona 85012
                                                      (602) 680-7332


David A. Birdsell, Trustee                                                                       April 5, 2018
216 North Center                                                                     File #:          928-782
Mesa, AZ 85201 USA
                                                                                     Inv #:               1147
                                                                                      Atty:               TPW
Attention:

RE:          Hal C. Carrington

                                   SUMMARY BY TIMEKEEPER
                                                           This Invoice                    Cumulative
Timekeeper                       Category          Rate      Hours      Amount          Hours   Amount
Sara R. Witthoft                 Partner          315.00        3.00      945.00         3.00     945.00
Ted P. Witthoft                  Partner          350.00        3.30    1,155.00         3.30   1,155.00
Trish Hines                      Paralegal        195.00        8.10    1,579.50         8.10   1,579.50
             Total                                            14.40      $3,679.50       14.40      $3,679.50

                                    DISBURSEMENT SUMMARY
E101         Copying                                                                    195.50
E108         Postage                                                                     17.15
E126         Pacer                                                                       12.50
E127         Lexis Nexis Asset/Public Record Search                                      45.00

             Total Disbursements                                                       $270.15




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Date              Description                                              Lawyer      Hours Amount          Task

Apr-03-17         Review email from Trustee regarding matter (.1),            SRW         0.60   189.00      B145
                  review docket (.1), telephone call and email to
                  Humaira Safdar, personal injury attorney, regarding
                  mass tort claim (.4).

Apr-03-17         Review public records regarding personal injury claim       TPW         0.80   280.00      B110
                  (.3); analyze information received by Attorney Safdar
                  (.2); review correspondence from Trustee regarding
                  personal injury claim (.2); email to Trustee regarding
                  reopening case (.1).

Apr-03-17         Email from and to clerk regarding appointment of            TH          0.10      19.50    B110
                  David Birdsell and trustee (.1).

Apr-03-17         Email to Humaira Safdar regarding information for           TH          0.10      19.50    B110
                  declarations of special counsel (.1).

Apr-03-17         Prepare application to employ, declaration of counsel,      TH          0.30      58.50    B160
                  employment order and notice of lodging proposed
                  order (.3).

Apr-05-17         Analyze issues regarding tort lawsuit, potential liens      TPW         0.10      35.00    B110
                  and turnover issues (.1).

Apr-06-17         Review correspondence from Trustee regarding                TPW         1.10   385.00      B110
                  identified issues (.1); review documents provided by
                  Trustee, public records, court docket, schedules and
                  statement of financial affairs to analyze case issues
                  (.9); email to Trustee regarding case issues (.1).

Apr-07-17         Telephone call from and to Debtor regarding reopening       TH          0.10      19.50    B110
                  of his bankruptcy case.

Apr-10-17         Email to Humaira Saldar regarding employment of             TH          0.10      19.50    B110
                  special counsel.

Apr-21-17         Review email from H. Safdar regarding employment of         TH          0.20      39.00    B110
                  special counsel and review fee agreement provided;
                  email to H. Safdar regarding same (.2).

Apr-21-17         Review file to analyze case issues and to prepare           TPW         0.20      70.00    B110
                  memorandum regarding status of case and prepare
                  correspondence to Trustee regarding same (.2).

May-02-17         Email to H. Safdar regarding employment of special          TH          0.10      19.50    B110
                  counsel (.1).

May-03-17         Email from and to Humaira Safdar regarding                  TH          0.10      19.50    B110
                  application to employ special counsel (.1).

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May-04-17         Prepare application to employ special counsel (.2);     TH         0.70   136.50      B160
                  prepare declarations of A. Badaruzzaman and D. Kerr
                  (.3); prepare proposed form of order and notice of
                  lodging proposed order (.2).

May-04-17         Email from and to H. Safdar regarding special counsel   TH         0.10      19.50    B110
                  fee agreement between the firms (.1).

May-11-17         Review and revise application for authorization to      SRW        0.20      63.00    B145
                  employ special counsel, supporting declarations, and
                  proposed order approving same (.2).

May-15-17         Email to H. Safdar regarding revised application to     TH         0.10      19.50    B160
                  employ special counsel, declarations of Mr.
                  Badaruzzaman and Ms. Kerr and proposed order (.1).

May-31-17         Review file and prepare correspondence to Trustee       TPW        0.20      70.00    B110
                  regarding case status (.2).

Jun-13-17         Review Order approving employment of special            TH         0.10      19.50    B145
                  counsel and email to Humaira Safdar regarding same
                  (.1).

Jun-14-17         Email to and from H. Safdar regarding settlement        TH         0.10      19.50    B145
                  statement (.1).

Jun-14-17         Review voicemail from Debtor regarding reopening        TPW        0.20      70.00    B110
                  case and case issues (.1); review file and docket to
                  analyze case status (.1).

Jun-20-17         Review email from special counsel, Humaira Safdar,      SRW        0.10      31.50    B145
                  and attached settlement statement for personal injury
                  claim, and instructions to Trish Hines to prepare
                  settlement motion (.1).

Jun-26-17         Prepare draft of Motion to Approve Settlement and       TH         1.20   234.00      B145
                  Authorize Payment of Special Counsel Fees and Costs
                  (1.0); review documents and settlement statement
                  regarding personal injury claim (.2).

Jun-29-17         Revise settlement motion and application to pay         TH         0.90   175.50      B145
                  special counsel (.3); prepare proposed form of order
                  (.6).

Jun-30-17         Review file to analyze case issues and prepare          TPW        0.10      35.00    B110
                  memorandum and correspondence to Trustee regarding
                  current case status (.1).

Jul-03-17         Review and revise draft motion to approve settlement    SRW        0.90   283.50      B145
                  of mass tort claim and proposed order regarding same.

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Jul-05-17         Research Maricopa County Recorder's Office for             TH         0.20      39.00    B145
                  medical liens and analysis regarding same (.2).

Jul-05-17         Revise proposed settlement motion and order (.2);          TH         0.30      58.50    B145
                  email to H. Safdar regarding review by special counsel
                  (.1).

Jul-20-17         Review case status and email to Humaira Safdar             TH         0.10      19.50    B110
                  regarding status of review of draft of settlement motion
                  and order (.1).

Aug-09-17         Email from H. Safdar regarding special counsel             TH         0.10      19.50    B110
                  revisions to settlement motion and order (.1).

Aug-09-17         Review and consider special counsel's revisions to         SRW        0.30      94.50    B145
                  draft motion to approve settlement of mass tort claim
                  and proposed order (.3).

Aug-11-17         Review docket and file and prepare correspondence to       TPW        0.10      35.00    B110
                  Trustee regarding current status of case/suggested
                  course of action (.1).

Aug-15-17         Email to H. Safdar regarding updated settlement            TH         0.10      19.50    B110
                  statement (.1).

Aug-16-17         Email from Humaria Safdar regarding updated                TH         0.10      19.50    B110
                  settlement statement (.1).

Aug-21-17         Email to Humaira Safdar regarding updated settlement       TH         0.10      19.50    B110
                  statement status (.1).

Aug-25-17         Email to H. Safdar regarding status of updated             TH         0.10      19.50    B110
                  settlement statement (.1).

Aug-28-17         Review email from special counsel regarding questions      SRW        0.20      63.00    B145
                  related to settlement motion.

Aug-30-17         Email to Humaira Safdar regarding status of updated        TH         0.10      19.50    B110
                  settlement statement (.1).

Sep-06-17         Email to H. Safdar regarding status of updated             TH         0.10      19.50    B110
                  settlement statement (.1).

Sep-06-17         Email from Trustee regarding correspondence to             TPW        0.20      70.00    B110
                  Debtor (.1); review and analyze correspondence to
                  Debtor regarding undisclosed claim (.1).

Sep-12-17         Telephone call to Asim Badarruzzman regarding              TH         0.30      58.50    B110



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                  updated settlement statement (.2); review email from
                  Humaria Safdar regarding same (.1).

Sep-13-17         Review updated settlement statement and joint motion       TH         0.40      78.00    B145
                  (.2); prepare bar notice regarding same (.2).

Sep-14-17         Review file, analyze case issues and prepare               TPW        0.10      35.00    B110
                  correspondence/memorandum to Trustee regarding
                  status of caes issues and recommendations of how to
                  proceed (.1).

Sep-18-17         Email to H. Safdar and A. Badaruzzuman regarding           TH         0.10      19.50    B110
                  revised settlement motion (.1),.

Sep-18-17         Review and revise motion to approve settlement of          SRW        0.40   126.00      B145
                  mass tort claim and to grant Trustee authority to pay
                  special counsel's fees and costs (.4).

Sep-20-17         Emails from Asim Badaruzzaman regarding final              TH         0.10      19.50    B110
                  review of proposed Settlement Motion and
                  authorization to file electronically (.1).

Sep-20-17          Revise notice of joint settlement motion (.2); prepare    TH         0.40      78.00    B145
                  certificate of mailing motion and notice (.2).

Sep-20-17         Finalize Trustee's Motion: (1) To Approve Settlement       TH         0.60   117.00      B145
                  Pursuant to Bankruptcy Rule 9019(a); and (2) To
                  Authorize Payment of Attorney Fees and Costs of
                  Special Counsel (.2); finalize bar notice (.1); finalize
                  certificate of mailing (.2); correspondence to parties
                  regarding same (.1).

Sep-20-17         Review and analyze settlement documents and amend          TPW        0.20      70.00    B110
                  motion for settlement and notice (.2).

Sep-21-17         Email from H. Safdar regarding settlement release (.1).    TH         0.10      19.50    B110
                  

Sep-22-17         Email to H. Safdar regarding Release (.1) .                TH         0.10      19.50    B110

Sep-25-17         Review email from H. Safdar and final settlement           TH         0.10      19.50    B110
                  statement to be signed by Trustee (.1).

Oct-16-17         Review emails from H. Safdar regarding status of           TH         0.10      19.50    B110
                  settlement motion (.1).

Oct-17-17         Prepare certificate of service and no objection (.1);      TH         0.20      39.00    B145
                  prepare notice of lodging proposed order (.1).

Oct-17-17          Review release required by defendants' counsel and        SRW        0.30      94.50    B145
                  instructions to Trustee for signature (.3).

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                  Totals                                                          14.40       $3,679.50

DISBURSEMENTS                                                   Disbursements             Receipts

Apr-03-17     Postage                                                      0.67

Apr-30-17     Copying                                                      7.75

Apr-30-17     Pacer                                                        3.20

May-17-17     Lexis Nexis Asset/Public Record Search                      45.00

May-31-17     Copying                                                     55.25

May-31-17     Pacer                                                        3.50

Jun-08-17     Postage                                                      0.67

Jun-30-17     Copying                                                     25.50

Jul-31-17     Copying                                                     12.75

Aug-31-17     Copying                                                     49.00

Sep-20-17     Postage                                                     14.47

Sep-30-17     Copying                                                     45.25

Sep-30-17     Pacer                                                        5.80

Oct-17-17     Postage                                                      0.67

Oct-17-17     Postage                                                      0.67


              Totals                                                    $270.15                $0.00


                  Total Fees & Disbursements                                              $3,949.65

                  Previous Balance                                                              $0.00
                  Payment Received                                                              $0.00


                  BALANCE DUE NOW                                                         $3,949.65

                                     SUMMARY BY TASK

 Task                                                  Effective Rate        Hours            Amount


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 B110      Case Administration                         $281.69       5.90            1,662.00
 B145      Plaintiff Claim Issues                      $243.65       7.40            1,803.00
 B160      Fee/Employment Applications                 $195.00       1.10              214.50

      Grand Total                                                    14.40     $3,679.50




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